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                 Exhibit 36
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                                                        DORETHEA FRANKLIN


     UNITED STATES DISTRICT COURT
     WESTERN DISTRICT OF NEW YORK

     ----------------------------------------------------
     BLACK LOVE RESISTS IN THE RUST by and through
     MARIELLE SHAVONNE SMITH and CHARIS HUMPHREY
     on behalf of its members, SHAKETA REDDEN,
     DORETHEA FRANKLIN, TANIQUA SIMMONS, DE'JON HALL,
     JOSEPH BONDS, CHARLES PALMER, SHIRLEY SARMIENTO,
     EBONY YELDON, and JANE DOE,
     individually and on behalf of a class of all
     others similarly situated,

                                      Plaintiffs,

           -vs-


     CITY OF BUFFALO, N.Y., BYRON B. BROWN,
     Mayor of the City of Buffalo, in his individual and official
     capacities,
     BYRON C. LOCKWOOD, Commissioner of the
     Buffalo Police Department, in his individual
     and official capacities,
     DANIEL DERENDA, former Commissioner of the
     Buffalo Police Department, in his individual capacity, AARON
     YOUNG, KEVIN BRINKWORTH, PHILIP SERAFINI,
     ROBBIN THOMAS,
     UNKNOWN SUPERVISORY PERSONNEL 1-10,
     UNKNOWN OFFICERS 1-20, each officers of the
     Buffalo Police Department,
     in their individual capacities,

                                  Defendants.
     ----------------------------------------------------
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                                       Examination Before Trial of

    DORETHEA FRANKLIN, Plaintiff, taken pursuant to the Federal

    Rules of Civil Procedure, in the law offices of HODGSON RUSS

    LLP, The Guaranty Building, 140 Pearl Street, Suite 100,

    Buffalo, New York, taken on May 15, 2023, commencing at

    11:35 A.M., before NICHOLE WINANS, Notary Public.




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 5   Examination By:

 6     Mr. Sahasrabudhe                                                       7

 7     Ms. Tefft                                                             49

 8     Mr. Sahasrabudhe                                                      53

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 4   Defendant's Exhibits                               For Identification

 5   K        Four Summons of Dorethea                                7
              Franklin
 6
     L        Dorethea Franklin Uniform                               7
 7            Traffic Ticket for Front
              Windshield
 8
     M        Dorethea Franklin Uniform                               7
 9            Traffic Ticket for Side
              Windshield
10
     N        Dorethea Franklin Citizen's                             7
11            Complaint Form

12   O        Doctor's Note                                           45

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 1                         INDEX TO DOCUMENT REQUESTS

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 4   Page, Line                  Description

 5   14      10          Copy of Dorethea Franklin's prior
                         transcript of deposition testimony
 6

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                                                                                        6



 1       A P P E A R A N C E S:

 2       W E S T E R N N E W Y O R K L A W C E N T E R,
         B y K E I S H A A . W I L L I A M S, E S Q . ,
 3       C a t h e d r a l P a r k T o w e r,
         3 7 F r a n k l i n S t r e e t,
 4       Suite 210,
         B u f f a l o, N e w Y o r k 1 4 2 0 2,
 5       A p p e a r i n g f o r t h e P l a i n t i f f s.

 6       N A T I O N A L C E N T E R F O R L A W A N D E C O N O M I C J U S T I C E,
         B y K A R I N A K . T E F F T, E S Q . ,
 7       5 0 B r o a d w a y,
         S u i t e 1 5 0 0,
 8       N e w Y o r k, N e w Y o r k 1 0 0 0 4,
         A p p e a r i n g f o r t h e P l a i n t i f f s.
 9
         HODGSON RUSS LLP,
10       B y P E T E R A . S A H A S R A B U D H E, E S Q . ,
         T h e G u a r a n t y B u i l d i n g,
11       1 4 0 P e a r l S t r e e t,
         Suite 100,
12       B u f f a l o, N e w Y o r k 1 4 2 0 2- 4 0 4 0,
         A p p e a r i n g f o r t h e D e f e n d a n t s.
13

14

15               (The following stipulations were entered

16       i n t o b y a l l p a r t i e s. )

17               It is hereby stipulated by and between counsel

18       for the respective parties that the oath of the

19       R e f e r e e i s w a i v e d, t h a t s i g n i n g, f i l i n g a n d

20       c e r t i f i c a t i o n o f t h e t r a n s c r i p t a r e w a i v e d, a n d

21       t h a t a l l o b j e c t i o n s, e x c e p t a s t o t h e f o r m o f t h e

22       q u e s t i o n s, a r e r e s e r v e d u n t i l t h e t i m e o f t r i a l.

23




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                                                                                                7



 1                 ( W h e r e u p o n, F o u r S u m m o n s o f D o r e t h e a

 2         Franklin were then received and marked as

 3         D e f e n d a n t' s E x h i b i t K ,

 4                 a Dorethea Franklin Uniform Traffic Ticket

 5         for Front Windshield was then received and marked

 6         a s D e f e n d a n t' s E x h i b i t L ,

 7                 a Dorethea Franklin Uniform Traffic Ticket

 8         for Side Windshield was then received and marked

 9         a s D e f e n d a n t' s E x h i b i t M , a n d

10                 D o r e t h e a F r a n k l i n C i t i z e n' s C o m p l a i n t F o r m

11         w a s t h e n r e c e i v e d a n d m a r k e d a s D e f e n d a n t' s

12         E x h i b i t N , f o r i d e n t i f i c a t i o n. )

13

14                       D O R E T H E A                F R A N K L I N,

15               4 9 E a s t o n A v e n u e, B u f f a l o, N e w Y o r k 1 4 2 1 5,

16                       a f t e r b e i n g d u l y c a l l e d a n d s w o r n,

17                                  t e s t i f i e d a s f o l l o w s:

18

19   E X A M I N A T I O N B Y M R . S A H A S R A B U D H E:

20

21   Q.    G o o d m o r n i n g, M i s s F r a n k l i n.      My name is Peter

22         S a h a s r a b u d h e, I r e p r e s e n t t h e C i t y o f B u f f a l o a n d

23         a collection of individuals in connection with a




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 1        lawsuit that you and some other Plaintiffs have

 2        b r o u g h t.       So my first question to you is have you

 3        e v e r g i v e n a d e p o s i t i o n - - o r , w i t h d r a w n.         Have

 4        y o u e v e r g i v e n d e p o s i t i o n t e s t i m o n y b e f o r e?

 5   A.   Yes.

 6   Q.   I n w h a t c a p a c i t y?

 7   A.   T h e s a m e c a p a c i t y, a b o u t t h e c h e c k p o i n t s, a b o u t

 8        t i c k e t s.

 9   Q.   So you've given a deposition in connection with a

10        t r a f f i c t i c k e t y o u ' v e r e c e i v e d?

11   A.   Um-hum.          Yes.

12   Q.   W a s t h a t a l a w s u i t t h a t y o u f i l e d?

13   A.   Yes.

14   Q.   A lawsuit separate from this one?

15   A.   Yes.

16   Q.   I s t h a t l a w s u i t s t i l l o n g o i n g?

17   A.   No.

18   Q.   D o y o u r e c a l l t h e o u t c o m e o f t h a t l a w s u i t?

19   A.   Yes.

20   Q.   W h a t w a s t h e o u t c o m e o f t h e l a w s u i t?

21   A.   I l o s t.

22   Q.   The claims were in some way, shape or form

23        d i s m i s s e d?




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 1   A.   I d o n ' t k n o w.       I j u s t l o s t.

 2   Q.   D o y o u r e c a l l w h e n y o u f i l e d t h a t l a w s u i t?

 3   A.   No.

 4   Q.   D o y o u r e c a l l w h o y o u w e r e s u i n g?

 5   A.   B u f f a l o P o l i c e D e p a r t m e n t.   I believe it was

 6        B u f f a l o P o l i c e D e p a r t m e n t.

 7   Q.   Do you recall if you were suing any specific

 8        o f f i c e r s?

 9   A.   T h e S t r i k e F o r c e.

10   Q.   O k a y.     And we're talking again about a lawsuit

11        separate and apart from the lawsuit that you're

12        here to testify today for?

13   A.   Y e a h.     S e p a r a t e.

14   Q.   O k a y.     Were you represented by the same counsel

15        i n t h a t l a w s u i t?

16   A.   No.        No.

17   Q.   W h o w a s y o u r c o u n s e l i n t h a t l a w s u i t?

18   A.   I f o r g o t h i s n a m e.

19   Q.   A b o u t w h e n d i d y o u b r i n g t h o s e c l a i m s?

20   A.   When they gave me the ticket on my property

21        w h i l e t h e y w e r e d o i n g c h e c k p o i n t s.

22   Q.   U n d e r s t o o d.   So, and we're going to get to that

23        in a little bit, but if I were to represent to




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 1        you that that -- the events you just described

 2        h a p p e n e d i n J u l y o f 2 0 1 7, w o u l d t h a t s o u n d a b o u t

 3        right to you?

 4   A.   Yes.

 5   Q.   O k a y.    A n d s o a f t e r t h e e v e n t s i n J u l y o f 2 0 1 7,

 6        y o u f i l e d a l a w s u i t?

 7   A.   Yes.

 8   Q.   A l l r i g h t.     And your understanding is that that

 9        l a w s u i t w a s d i s m i s s e d?

10   A.   Yes.

11   Q.   D o y o u r e c a l l w h e n i t w a s d i s m i s s e d?

12   A.   No.

13   Q.   Other than in connection with that lawsuit that

14        y o u f i l e d, h a v e y o u e v e r g i v e n d e p o s i t i o n

15        t e s t i m o n y b e f o r e?

16   A.   No.

17   Q.   E v e r g i v e n s w o r n t e s t i m o n y o f a n y k i n d?

18   A.   No.

19   Q.   S o j u s t t h e o n e d e p o s i t i o n?

20   A.   Yes.

21   Q.   So a lot of the same ground rules are going to

22        apply with respect to the deposition you've

23        a l r e a d y g i v e n, b u t I ' m g o i n g t o p r o b a b l y r e p e a t




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 1        them just so we're on the same page and just so

 2        t h e r e c o r d i s c l e a r.    O k a y?

 3   A.   O k a y.

 4   Q.   S o t h e f i r s t t h i n g, a n d y o u ' r e a l r e a d y d o i n g a

 5        v e r y g o o d j o b o f t h i s, i s y o u n e e d t o l e t m e

 6        f i n i s h m y q u e s t i o n b e f o r e y o u g i v e a n a n s w e r.

 7        S o m e t i m e s i t c a n b e t o u g h, s o m e t i m e s y o u c a n k n o w

 8        what I'm going to ask, but just so the record is

 9        c l e a r a n d m y f u l l q u e s t i o n g e t s t r a n s c r i b e d, t o

10        t h e b e s t o f y o u r a b i l i t y, c a n y o u t r y t o l e t m e

11        f i n i s h m y q u e s t i o n b e f o r e y o u b e g i n y o u r a n s w e r?

12   A.   Yes.

13   Q.   And I'll do the same for you, to the best of my

14        a b i l i t y.       I'll try to let you finish an answer

15        b e f o r e I j u m p i n w i t h a n o t h e r q u e s t i o n.    A g a i n,

16        the most important thing that happens today is

17        that what you say and what I say gets transcribed

18        a c c u r a t el y , s o i n c o n n e c t i o n w i t h t h a t, I n e e d

19        y o u t o g i v e a f u l l v e r ba l r e s p o n s e t o m y

20        q u e s t i o n s.     So I can't have a shake of the head

21        or a nod of the head or an uh-huh or uh-uh,

22        b e c a u s e t h a t d o e s n' t g e t t r a n s c r i b e d, s o t o t h e

23        b e s t o f y o u r a b i l i t y, c o u l d y o u g i v e a f u l l




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 1        v e r b a l r e s p o n s e t o e a c h o f m y q u e s t i o n s?

 2   A.   Yes.

 3   Q.   O k a y.    W h e t h e r t h e r e' s a y e s o r a n o o r a o n e

 4        w o r d a n s w e r, j u s t t r y t o g i v e a f u l l v e r ba l

 5        r e s p o n s e.

 6   A.   O k a y.

 7   Q.   O k a y.    I f y o u d o n ' t u n d e r s t a n d a q u e s t i o n, a s k m e

 8        to rephrase it.              Anything that isn't clear to you

 9        o r t h a t d o e s n' t r e a l l y m a k e s e n s e, y o u ' r e t o t a l l y

10        e n t i t l e d t o a s k m e t o r e p h r a s e, a n d I ' l l d o t h e

11        best I can to rephrase it in a manner that is

12        m o r e u n d e rs t a n d a b l e.   D o e s t h a t s o u n d g o o d?

13   A.   I t s o u n d s g o o d.

14   Q.   O k a y.    C o n v e r s e l y t h o u g h, i f y o u d o n ' t a s k m e t o

15        rephrase a question and you go ahead and answer

16        i t , I ' m g o i n g t o a s s u m e t h a t m e a n s y o u u n d e rs t o o d

17        what I asked you.                I s t h a t f a i r?

18   A.   F a i r.

19   Q.   A l l r i g h t.     Y o u ' r e u n d e r o a t h, d o y o u u n d e r s t a n d

20        w h a t t h a t m e a n s?

21   A.   Yes.

22   Q.   O k a y.    I f y o u n e e d a b r e a k a t a n y p o i n t, t h a t' s

23        t o t a l l y f i n e, y o u ' r e e n t i t l e d t o t a k e a b r e a k.




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 1        The only thing that I would ask is that if a

 2        q u e s t i o n i s p e n d i n g, y o u g i v e a f u l l v e r ba l

 3        r e s p o n s e t o t h e q u e s t i o n t h a t' s b e e n a s k e d, a n d

 4        t h e n w e c a n t a k e a b r e a k.         Do you understand

 5        t h a t?

 6   A.   Yes.

 7   Q.   Y o u r l a w y e r m a y o b j e c t f r o m t i m e t o t i m e, b u t

 8        unless you're instructed not to answer a

 9        q u e s t i o n, a n s w e r t h e q u e s t i o n t o t h e b e s t o f y o u r

10        a b i l i t y.     D o y o u u n d e r s t a n d t h a t?

11   A.   Yes.

12   Q.   Anything I should know about this morning that

13        would affect your ability to give truthful and

14        a c c u r a t e t e s t i m o n y?

15   A.   No.

16   Q.   A l l r i g h t.      You're not under the influence of any

17        medications that would affect your ability to

18        g i v e t r u t h f u l a n d a c c u r a t e t e s t i m o n y?

19   A.   No.

20   Q.   O k a y.    W h a t, i f a n y t h i n g, d i d y o u r e v i e w t o

21        p r e p a r e f o r y o u r t e s t i m o n y t o d a y?

22   A.   N o t h i n g r e a l l y.

23   Q.   You don't recall any documents that you looked at




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 1         o r r e v i e w e d t o p r e p a r e f o r t e s t i f y i n g?

 2   A.    I reviewed like how I spoke in the last

 3         d e p o s i t i o n, b u t t h a t w a s i t .

 4   Q.    You reviewed a transcript of your prior

 5         t e s t i m o n y?

 6   A.    Yes.

 7   Q.    Is that a document that you reviewed with your

 8         a t t o r n e y s?

 9   A.    Yes.

10   M R . S A H A S R A B U D H E:    O k a y.   I don't know that I've been

11         g i v e n a t r a n s c r i p t o f t h a t d e p o s i t i o n t e s t i m o n y,

12         a n d t o t h e e x t e n t I h a v e n' t a s k e d f o r i t , I ' m

13         g o i n g t o i n d e x a r e q u e s t.

14   B Y M R . S A H A S R A B U D H E:

15   Q.    Anything else you reviewed besides your

16         t r a n s c r i p t?

17   A.    No.

18   Q.    No.        So I take it you did meet with your

19         a t t o r n e y s t o p r e p a r e f o r t e s t i f y i n g t o d a y,

20         c o r r e c t?

21   A.    Yes.

22   Q.    H o w m a n y t i m e s?

23   A.    O n c e.




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                                                                                       15



 1   Q.   H o w l o n g w a s t h a t m e e t i n g?

 2   A.   I d o n ' t k n o w.

 3   Q.   W a s i t o v e r a n h o u r?

 4   A.   P r o b a b l y, y e s .

 5   Q.   O v e r t w o h o u r s?

 6   A.   I don't think so.

 7   Q.   O k a y.    S o b e t w e e n o n e a n d t w o h o u r s, f a i r

 8        e s t i m a t e?

 9   A.   Yes.

10   Q.   O k a y.    H o w a r e y o u c u r r e n t l y e m p l o y e d?

11   A.   S e l f- e m p l o y e d.

12   Q.   I n w h a t w a y a r e y o u s e l f- e m p l o y e d?

13   A.   E l a b o ra t e w h a t y o u m e a n b y t h a t.

14   Q.   I t ' s a b a d q u e s t i o n.       What kind of work do you

15        do?

16   A.   I h a v e a h o m e c a r e b u s i n e s s, a t r a n s p o r t a t i o n

17        b u s i n e s s, a n d I a m a m e n t a l h e a l t h c o u n s e l o r.

18   Q.   S o y o u r h o m e c a r e b u s i n e s s, a r e y o u a n o w n e r o f

19        t h a t b u s i n e s s?

20   A.   Yes.

21   Q.   Do you have people working for you?

22   A.   Yes.

23   Q.   W h a t' s t h e n a m e o f y o u r h o m e c a r e b u s i n e s s?




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                                                                                            16



 1   A.   Benton Property Management Company LLC.

 2   Q.   H o w l o n g h a s t h a t b e e n i n o p e r a t i o n?

 3   A.   S i x t e e n y e a r s.

 4   Q.   A n d a r e y o u t h e f o u n d e r?

 5   A.   I ' m t h e r e s t a r te r .

 6   Q.   W h e n d i d y o u r e s t a r t t h e b u s i n e s s?

 7   A.   2 0 0 7.

 8   Q.   W h a t d o e s B e n s o n P r o p e r t y - - s o r r y.         W h a t' s t h e

 9        n a m e o f t h e b u s i n e s s a g a i n, I a p o l o g i z e?

10   A.   B e n t o n P r o p e r t y M a n a g e m e n t C o m p a n y.

11   Q.   What does Benton Property Management Company do?

12   A.   R e p h r a s e t h a t.     I d o n ' t u n d e r s t a n d.      What do you

13        m e a n?

14   Q.   S o y o u s a i d i t ' s a h o m e h e a l t h c a r e b u s i n e s s,

15        c o r r e c t?

16   A.   Um-hum.          Yes.

17   Q.   Can you describe exactly what kind of home health

18        care business it is?

19   A.   C o n s u m e r d i r e c t e d.

20   Q.   W h a t d o e s c o n s u m e r d i r e c t e d m e a n?

21   A.   Y o u g e t a n a i d e t o c o m e i n t o y o u r h o m e.

22   Q.   A r e t h e a i d e s e m p l o y e d b y y o u r b u s i n e s s?

23   A.   Yes.




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                                                                                             17



 1   Q.   H o w m a n y a i d e s d o e s y o u r b u s i n e s s e m p l o y?

 2   A.   Ten.

 3   Q.   A n d y o u m e n t i o n e d t h e r e' s a t r a n s p o r t a t i o n

 4        business that you own?

 5   A.   Yes.

 6   Q.   W h a t' s t h e n a m e o f t h a t?

 7   A.   It all falls up under Benton.

 8   Q.   O k a y.     S o B e n t o n P r o p e r t y M a n a g e m e n t o v e rs e e s o r

 9        u n d e r n e a t h B e n t o n P r o p e r t y M a n a g em e n t t h e r e' s a

10        c o u p l e d i f f e r e n t b u s i n e s s e s?

11   A.   R i g h t.

12   Q.   What kind of transportation business do you run?

13   A.   M e d i c a l, n o n - m e d i c a l.

14   Q.   W h a t d o y o u m e a n b y n o n - m e d i c a l?

15   A.   T a k e t h e m t o d o c t o r s' a p p o i n t m e n t s, g r o c e r y

16        s h o p p i n g.

17   Q.   I see.        So someone will request to be taken to a

18        d o c t o r' s a p p o i n t m e n t o r t o b e t a k e n g r o c e r y

19        s h o p p i n g, a n d y o u r t r a n s p o r t a t i o n s e r v i c e w i l l

20        p i c k t h e m u p a n d t a k e t h e m?

21   A.   Yes.

22   Q.   How long has that been in operation for?

23   A.   T w o y e a r s.




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                                                                                        18



 1   Q.   And you mentioned you're a mental health

 2        c o u n s e l o r?

 3   A.   Yes.

 4   Q.   Do you personally see people who are seeking

 5        m e n t a l h e a l t h t r e a t m e n t a n d c a r e?

 6   A.   Yes.

 7   Q.   Are you certified in being a mental health

 8        c o u n s e l o r?

 9   A.   I h a v e m y l i c e n s e.

10   Q.   W h a t' s t h e n a m e o f t h e l i c e n s e?

11   A.   M y n a m e.

12   Q.   Is there a particular -- so is there a particular

13        n a m e t h a t t h e c e r t i f i c a t i o n i s g i v e n, s o f o r

14        example --

15   A.   M e n t a l h e a l t h c o u n s e l o r.

16   Q.   O k a y.    T h a t' s j u s t i t .         What did you have to do

17        t o o b t a i n t h e l i c e n s e?

18   A.   G r a d u a t e w i t h a M a s t e r' s .

19   Q.   W h e n d i d y o u g r a d u a t e w i t h a M a s t e r' s ?

20   A.   2 0 1 2.

21   Q.   A n d f r o m w h a t p r o g r a m d i d y o u g r a d u a t e?

22   A.   U n i v e r s i t y o f P h o e n i x.

23   Q.   I s t h a t y o u r h i g h e s t l e v e l o f e d u c a t i o n?




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                                                                                         19



 1   A.   M a s t e r' s , y e s .

 2   Q.   W h e r e d i d y o u r e c e i v e y o u r u n d e r g r a d e d u c a t i o n?

 3   A.   B u f f a l o S t a t e.

 4   Q.   W h e n d i d y o u g r a d u a t e f r o m t h e r e?

 5   A.   M a y b e 2 0 0 8.

 6   Q.   What was your degree in?

 7   A.   S o c i o l o g y.

 8   Q.   How long -- so have you been a mental health

 9        c o u n s e l o r t h e n e v e r s i n c e 2 0 1 2?

10   A.   W o r k i n g t o w a r d s, I w a s w o r k i n g t o w a r d s b e i n g a

11        m e n t a l h e a l t h c o u n s e l o r.

12   Q.   O k a y.    W e l l, I t h o u g h t y o u t o l d m e y o u g o t y o u r

13        l i c e n s e i n 2 0 1 2?

14   A.   I d i d n' t s a y t h a t.

15   Q.   O k a y.    W h e n d i d y o u g e t y o u r l i c e n s e?

16   A.   I got my license maybe like six months ago.

17   Q.   O k a y.    A n d s o a t t h a t t i m e, s i x m o n t h s a g o w h e n

18        y o u g o t y o u r l i c e n s e, t h a t' s w h e n y o u s t a r t e d - -

19   A.   Yes.

20   Q.   -- seeing people and providing care for people

21        s e e k i n g m e n t a l h e a l t h t r e a t m e n t?

22   A.   Yes.

23   Q.   Does anyone else work with you providing mental




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                                                                                             20



 1        h e a l t h c o u n s e l i n g?

 2   A.   No.

 3   Q.   Before you had these various businesses with

 4        B e n t o n P r o p e r t y M a n a g e m e n t, h o w w e r e y o u

 5        e m p l o y e d?

 6   A.   I w o r k e d a t v a r i o u s p l a c e s, e v e r y t h i n g i n t h e

 7        f i e l d o f c o m m u n i t y, s o c i o l o g y, s t u f f l i k e t h a t.

 8   Q.   B e f o r e y o u s t a r t e d B e n t o n P r o p e r t y M a n a g e m e n t,

 9        can you tell me where specifically you were

10        e m p l o y e d?

11   A.   H i l l s i d e.     You want to know before that too,

12        b e f o r e H i l l s i d e?

13   Q.   W h a t' s H i l l s i d e?

14   A.   I t ' s l i k e H i l l s i d e C h i l d r e n' s C e n t e r, t h e y d o

15        f o s t e r c a r e a n d a d o p t i o n.

16   Q.   O k a y.    H o w l o n g w e r e y o u e m p l o y e d b y H i l l s i d e?

17   A.   F i v e y e a r s.

18   Q.   Were you only employed by Hillside or did you

19        h a v e o t h e r f o r m s o f w o r k i n t h a t f i v e y e a r s?

20   A.   I w a s o n l y e m p l o y e d a t H i l l s i d e.

21   Q.   O k a y.    T h e n t h a t' s f i n e.      T h a t' s a l l I r e a l l y

22        n e e d t o k n o w a b o u t.

23   A.   O k a y.




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                                                                                     21



 1   Q.   S o w h e r e d o y o u c u r r e n t l y l i v e?

 2   A.   4 9 E a s t o n A v e n u e, B u f f a l o 1 4 2 1 5.

 3   Q.   How long have you lived there for?

 4   A.   T h i s t i m e, I ' v e b e e n o v e r t h e r e f o r s e v e n, e i g h t

 5        y e a r s.

 6   Q.   O k a y.     W h e n y o u s a y t h i s t i m e, d o e s t h a t m e a n y o u

 7        h a d p r e v i o u s l y l i v e d t h e r e?

 8   A.   Y e a h.     I move back and forth when I feel like it.

 9   Q.   O k a y.     And what years or about how long ago did

10        y o u p r e v i o u s l y l i v e t h e r e?

11   A.   S o l e t ' s s e e - - I d o n ' t k n o w.         I can't remember

12        t h e d a t e s, j u s t t o o m a n y d a t e s t o b e t r y i n g t o

13        r e m e m b e r.

14   Q.   O k a y.     Prior to living at the Easton Avenue

15        a d d r e s s, w h e r e d i d y o u l i v e?

16   A.   9 0 C l o v e r d a l e.

17   Q.   H o w l o n g d i d y o u l i v e t h e r e?

18   A.   P r o b a b l y l i k e t h r e e y e a r s.

19   Q.   W h y d i d y o u m o v e?

20   A.   C h e c k p o i n t s.

21   Q.   You specifically moved because of the vehicle and

22        traffic safety checkpoints being conducted near

23        y o u r h o m e?




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                                                                                          22



 1   A.   Yes.

 2   Q.   A n y o t h e r r e a s o n?

 3   A.   No.

 4   Q.   Where did you live prior to the Cloverdale

 5        a d d r e s s?

 6   A.   B e f o r e C l o v e r d a l e?

 7   Q.   Yes.

 8   A.   Easton.

 9   Q.   O k a y.    F a i r t o s a y t h a t i n t h e p a s t t e n y e a r s,

10        t h o s e a r e t h e t w o p l a c e s y o u ' v e m a i n l y r e s i d e d,

11        t h e C l o v e r d a l e a d d r e s s a n d t h e E a s to n a d d r e s s?

12   A.   Yes.

13   Q.   Have you ever been a member of an organization

14        k n o w n a s B l a c k L o v e R e s i s t s I n T h e R u s t?

15   A.   No.

16   Q.   H a v e y o u e v e r a t t e n d e d a n y o f t h e i r m e e t i n g s?

17   A.   No.

18   Q.   Do you personally know any other of the named

19        P l a i n t i f f s i n t h i s m a t t e r?

20   A.   Yes.

21   Q.   W h o d o y o u k n o w?

22   A.   T a n i q u a S i m m o n s.

23   Q.   How do you know her?




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                                                                                         23



 1   A.   W e d o c o m m u n i t y s t u f f t o g e t h e r.

 2   Q.   How long have you known her?

 3   A.   A l l m y l i f e.

 4   Q.   D i d y o u g o t o s c h o o l t o g e t h e r?

 5   A.   No.

 6   Q.   D i d y o u g r o w u p n e a r e a c h o t h e r?

 7   A.   Yes.

 8   Q.   What community events have you participated in

 9        w i t h T a n i q u a S i m m o n s?

10   A.   W e ' v e b e e n t o m e e t i n g s, I d o n ' t k n o w, a l o t o f

11        e v e n t s.

12   Q.   W h a t k i n d o f m e e t i n g s w e r e y o u j u s t d e s c r i b i n g?

13   A.   C o m m u n i t y m e e t i n g s.

14   Q.   Have you spoken to Taniqua Simmons about the

15        a l l e g a t i o n s i n t h e c o m p l a i n t i n t h i s l a w s u i t?

16   A.   Have I spoken to her about it?

17   Q.   Yes.

18   A.   I d o n ' t u n d e r s t a n d t h e q u e s t i o n.

19   Q.   Have you discussed this lawsuit with Taniqua

20        S i m m o n s?

21   A.   No.

22   Q.   You've never even discussed that you're both

23        P l a i n t i f f s i n t h e s a m e l a w s u i t?




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 1   A.    W e b o t h a l r e a d y k n e w w e w e r e b o t h c o m p l a i na n t s i n

 2         t h e s a m e l a w s u i t.

 3   Q.    So you've never had any substantive conversations

 4         w i t h h e r a b o u t t h e a l l e g a t i o n s i n t h e c o m p l a i n t?

 5   A.    N o t h i n g t o t a l k a b o u t.

 6   Q.    A n y o t h e r P l a i n t i f f s t h a t y o u k n o w p e r s o n a l l y?

 7   A.    No.

 8   Q.    O k a y.       M i s s F r a n k l i n, I ' m g o i n g t o h a n d y o u

 9         w h a t' s a l r e a d y b e e n m a r k e d a s D e f e n d a n t' s

10         Deposition Exhibit A, I'll represent to you that

11         this is the amended complaint filed by your

12         a t t o r n e ys o n b e h a l f o f y o u a n d s o m e o t h e r

13         P l a i n t i f f s.       Is this a document you've seen

14         b e f o r e?      And you can take a second to flip

15         t h r o u g h i t i f y o u n e e d.

16   A.    I think so.

17   M S . T E F F T:      Can you direct us to the page of her

18         specific --

19   M R . S A H A S R A B U D H E:     Yes.    I w i l l.

20   M S . T E F F T:      I think that will be easier for her

21         r e c o l l e c t i o n.

22   B Y M R . S A H A S R A B U D H E:

23   Q.    O k a y.       So why don't we, you can go to paragraph




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 1         t w o h u n d r e d s i x t h r o u g h t w o h u n d r e d t h i r t y- s i x .

 2   M S . T E F F T:       Are you asking her to review it?

 3   B Y M R . S A H A S R A B U D H E:

 4   Q.    Yes.       Why don't you review it.

 5   M S . T E F F T:       T a k e y o u r t i m e.

 6   B Y M R . S A H A S R A B U D H E:

 7   Q.    A n d I t h i n k I a l r e a d y s a i d t h i s, b u t j u s t t o b e

 8         c l e a r, s t o p a t p a r a g r a p h t w o t h i r t y- s i x , a n d w h e n

 9         y o u ' r e d o n e w i t h t h a t, j u s t l e t m e k n o w.

10                 ( D i s c u s s i o n o f f t h e r e c o r d. )

11   B Y M R . S A H A S R A B U D H E:

12   Q.    S o , M i s s F r a n k l i n, y o u j u s t r e v i e w e d p a r a g r a p h s

13         t w o h u n d r e d s i x t h r o u g h t w o t h i r t y- s i x o f t h e

14         a m e n d e d c o m p l a i n t i n t h i s a c t i o n, c o r r e c t?

15   A.    C o r r e c t.

16   Q.    A r e t h o s e p a r a g r a p hs s o m e t h i n g y o u ' v e e v e r

17         r e v i e w e d b e f o r e t o d a y?

18   A.    Y e a h.     I b r o w s e d t h r o u g h t h e m.

19   Q.    O k a y.     W h e n d i d y o u b r o w s e t h o u g h t h e m?

20   A.    I d o n ' t k n o w.       When we were discussing the

21         c h e c k p o i n t s, t h e r e v i e w o r s o m e t h i n g.

22   Q.    Did you review those allegations in preparation

23         f o r t o d a y?




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 1   A.    Yes.

 2   Q.    O k a y.     S o t h a t' s a d o c u m e n t y o u r e v i e w e d i n t h e

 3         one to two hour meeting you had with your

 4         a t t o r n e y s?

 5   A.    Yes.

 6   Q.    A l l r i g h t.      Are there any other documents you've

 7         r e v i e w e d t h a t y o u n o w r e m e m b e r t h a t y o u d i d n' t

 8         tell me about earlier or would it have just been

 9         y o u r d e p o s i t i o n t e s t i m o n y a n d t h e c o m p l a i n t?

10   M S . T E F F T:     I ' m g o i n g t o o b j e c t, o n l y i n s o f a r a s

11         t h e r e' s p r i v i l e g e d i n f o r m a t i o n i n s o m e t h i n g t h a t

12         w e r e v i e w e d, s o d o n ' t t a l k a b o u t t h e c o n t e n t s.

13   B Y M R . S A H A S R A B U D H E:

14   Q.    Just the documents you looked at.

15   A.    O h , I d o n ' t k n o w t h e n a m e o f t h e d o c u m e n t s, b u t I

16         w a s - - t h a t w a s i t I t h i n k.

17   Q.    O k a y.     T o t h e b e s t o f y o u r r e c o l l e c t i o n, t h o s e

18         a r e t h e o n l y t w o d o c u m e n t s y o u r e m e m b e r?

19   A.    Um-hum.         Yes.

20   Q.    I n h a v i n g r e v i e w e d p a r a g r a p hs t w o h u n d r e d s i x

21         t h r o u g h t w o t h i r t y- s i x , d i d y o u n o t i c e a n y t h i n g

22         t h a t w a s i n a c c u r a t e o r t h a t d o e s n' t a c c u r a t e l y

23         portray your experiences with vehicle and traffic




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 1        s a f e t y c h e c k p o i n t s i n t h e C i t y o f B u f f a l o?

 2   A.   No.        It described it.

 3   Q.   Can you tell me what your understanding of a

 4        vehicle and traffic safety checkpoint is?

 5   A.   I f y o u ' r e d o i n g a s a f e t y c h e c k p o i n t, y o u a r e

 6        s u p p o s e d t o b e d o i n g i t f o r a c o u p l e o f r e a s o n s.

 7        O n e i s a l c o h o l, t o m a k e s u r e t h e r e' s n o d r u n k

 8        d r i v i n g.    T h a t' s n o t w h a t t h e s e c h e c k p o i n t s w e r e.

 9   Q.   W e l l, c a n y o u d e s c r i b e t h e c h e c k p o i n t s t h a t y o u

10        encountered when you were living at the

11        C l o v e r d a l e a d d r e s s?

12   A.   I n t r u s i v e, r a c i s t, d i s c r i m i n a t o r y, m e a n i n gl e s s,

13        m o n e y g r a b.

14   Q.   O k a y.     W e l l, l e t m e a s k y o u t h i s.         When you went

15        through a vehicle and safety checkpoint in the

16        C i t y o f B u f f a l o, w o u l d o f f i c e r s l o o k a t t h e

17        vehicle and registration tag on your car?

18   A.   W o u l d t h e y l o o k a t i t , y e a h.        I believe they did

19        o n e t i m e.

20   Q.   And would it be fair to say that you never once

21        received a traffic ticket after having gone

22        t h r o u g h a c h e c k p o i n t i n t h e C i t y o f B u f f a l o?

23   A.   W o u l d i t b e f a i r t o s a y t h a t, I d o n ' t r e c a l l.                I




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 1        d o n ' t k n o w.

 2   Q.   A s y o u s i t h e r e t o d a y, y o u c a n ' t r e c a l l a

 3        specific instance where you got a traffic ticket

 4        a f t e r g o i n g t h r o u g h a c h e c k p o i n t?

 5   A.   I d i d n' t .       I d i d n' t r e c e i v e o n e .    I don't

 6        r e m e m b e r r e a l l y, b u t I d i d n' t r e c e i v e o n e .

 7   Q.   And you were never arrested for any non-traffic

 8        related offense --

 9   A.   No.

10   Q.   -- as a result of having gone through a

11        c h e c kp o i n t, c o r r e c t?

12   A.   C o r r e c t.

13   Q.   O k a y.    W h e n w a s t h e l a s t t i m e y o u e n c o u n te r e d a

14        c h e c k p o i n t w i t h i n t h e C i t y o f B u f f a l o?

15   A.   Last time I encountered one, I think they stopped

16        in like '19.

17   Q.   S o f a i r t o s a y y o u h a v e n' t b e e n t h r o u g h a

18        c h e c k p o i n t i n o v e r t h r e e y e a r s?

19   A.   Y e a h.    W h e n t h e y s t o p p e d, w h a t e v e r y e a r t h e y

20        s t o p p e d, t h a t w a s t h e l a s t t i m e I e v e r w e n t

21        through one.

22   Q.   So you're not going through them regularly

23        a n y m o r e?




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 1   A.   There is none right now.

 2   Q.   O k a y.       C a n y o u g o t o p a r a g r a p h t w o t h i r t e e n,

 3        p l e a s e.      S o p a r a g r a p h t w o t h i r t e e n o f t h e a m e n de d

 4        c o m p l a i n t s a y s t h a t M i s s F r a n k l i n, r e f e r r i n g t o

 5        you, observed that to the extent white people

 6        w e n t t h r o u g h t h e B a i l e y A v e n u e c h e c k p o i n t, t h e y

 7        tended to pass through without being pulled over

 8        f o r a s e c o n da r y s t o p.        Most of the drivers pulled

 9        o v e r f o r s e c o n da r y i n s p e c t i o n s w e r e b l a c k.          Did I

10        r e a d t h a t c o r r e c t l y?

11   A.   S u r e.

12   Q.   O k a y.       A n d m y u n d e r s t a n d i n g, c o r r e c t m e i f I ' m

13        w r o n g.      I s t h e s e c o n da r y s t o p i s r e f e r r i n g t o

14        a f t e r t h e i n i t i a l s t o p, t h e c a r i s a s k e d t o p u l l

15        to the side of the road for further questioning

16        o r f o r a t r a f f i c c i t a t i o n, w o u l d t h a t b e

17        c o n s i s t e n t w i t h y o u r u n d e r s t a n d i n g?

18   A.   T h e r e w a s n o f u r t h e r q u e s t i o n i n g, t h e r e w a s

19        t a k i n g o f t h e v e h i c l e s.

20   Q.   O k a y.       But so my question is a little bit

21        d i f f e r e n t.     W h a t I w a n t t o c o n f i r m, d o y o u r e c a l l

22        a n y s p e c i f i c i n s t a n c e s, a s y o u s i t h e r e t o d a y, o f

23        white people going through vehicle and traffic




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 1        s a f e t y c h e c kp o i n t s?

 2   A.   Yes.

 3   Q.   O k a y.    Were they stopped initially the same way

 4        t h a t o t h e r c a r s w e r e?

 5   A.   No.

 6   Q.   So it's your testimony that they were allowed to

 7        drive right through without being stopped at all?

 8   A.   Yes.

 9   Q.   O k a y.    And only black people were stopped at the

10        c h e c k p o i n t s?

11   A.   Yes.

12   Q.   O k a y.    Can you recall a specific instance when

13        t h a t h a p p e n e d?

14   A.   Y o u ' r e a s k i n g m e f o r s p e c i f i c d a t e s, a n d y o u w a n t

15        me to go all the way back to 2017 for a specific

16        d a t e i n m y h e a d, I c a n ' t g i v e y o u t h a t.

17   Q.   O k a y.    You have a general recollection of that

18        h a p p e n i n g, b u t y o u c a n ' t r e c a l l a s p e c i f i c

19        i n s t a n c e, a s y o u s i t h e r e t o d a y?

20   A.   I c a n ' t r e c a l l s p e c i f i c d a t e s.    I can describe to

21        y o u a n y t h i n g e l s e b u t a s p e c i f i c d a t e.

22   Q.   O k a y.    But it is your testimony that white people

23        were not stopped at all at the vehicle and




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 1         t r a f f i c s a f e t y c h e c kp o i n t s, t h e y g o t t o g o r i g h t

 2         t h r o u g h?

 3   M S . T E F F T:       O b j e c t i o n.   C a n y o u c l a r i f y, a r e y o u

 4         talking about secondary stops or are you talking

 5         a b o u t p r i m a r y s t o p s?

 6   M R . S A H A S R A B U D H E:     R i g h t.   W e l l, t h a t' s w h a t I ' m

 7         t r y i n g t o c l a r i f y.

 8   M S . T E F F T:       Can you clarify your question with that

 9         d i s t i n c t i o n?

10   M R . S A H A S R A B U D H E:     Yes.

11   B Y M R . S A H A S R A B U D H E:

12   Q.    O k a y.     D o y o u u n d e r s t a n d - - o k a y.      When I refer

13         t o a p r i m a r y s t o p a t a c h e c kp o i n t, I ' m j u s t

14         r e f e r r i n g t o c a r s a r e i n a l i n e, a n d t h e y

15         a p p r o a c h a n o f f i c e r, t h e y' r e s t o p p e d m o m e n t a r i l y,

16         a n d t h e y' r e a l l o w e d t o p r o c e e d.       A s e c o n da r y s t o p

17         w o u l d b e a f t e r t h e y' r e s t o p p e d, t h e y h a v e t o p u l l

18         t o t h e s i d e o f t h e r o a d, a n d t h e n s o m e t h i n g

19         f u r t h e r h a p p e n s, f o r i n s t a n c e, t h e y' r e i s s u e d a

20         t r a f f i c t i c k e t, t h e r e c o u l d b e a t o w i n g o f a

21         v e h i c l e o r t h e r e' s s o m e f u r t h e r q u e s t i o n i n g d o n e.

22         Do you understand the difference between the

23         p r i m a r y s t o p a n d t h e s e c o n da r y s t o p?




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 1   A.   Yes.

 2   Q.   O k a y.     S o w i t h r e s p e c t t o p r i m a r y s t o p s, i s i t

 3        your testimony that when a white person went

 4        t h r o u g h a v e h i c l e a n d t r a f f i c s a f e t y c h e c k p o i n t,

 5        t h e y w e r e n o t s u b j e c t e d t o a p r i m a r y s t o p?

 6   A.   M y t e s t i m o n y i s t h i s, I t h i n k y o u ' r e u n d e r t h e

 7        assumption that when you are driving through the

 8        c h e c kp o i n t, t h a t e v e r y b o d y w a s s t o p p e d i n i t i a l l y

 9        and spoken to, and then they went to the next

10        s t o p.     T h a t i s n o t w h a t o c c u r r e d f o r e v e r y b o d y.

11        S o w h e n a w h i t e p e r s o n c a m e t h r o u g h, t h e y w e r e

12        n o t s t o p p e d i n i t i a l l y, t h e y w e r e a l l o w e d t o g o

13        s t r a i g h t t h r o u g h.

14   Q.   O k a y.     S o w h e n g o i n g t h r o u g h a c h e c k p o i n t,

15        c e r t a i n d r i v e r s w e r e a l l o w e d t o p a s s t h r o u g h, a n d

16        other drivers were not?

17   A.   Yes.

18   Q.   O k a y.     But all drivers were made to slow down and

19        p a s s t h r o u g h t h e c h e c kp o i n t, c o r r e c t?

20   A.   Y o u h a d n o c h o i c e b u t t o s l o w d o w n.

21   Q.   O k a y.     R e g a r dl e s s o f y o u r r a c e?

22   A.   R i g h t.

23   Q.   O k a y.     And each driver would go through that




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 1         i n i t i a l c h e c k p o i n t, c o r r e c t?

 2   A.    Y o u h a d n o c h o i c e b u t t o g o t h r o u g h t h a t, t h e

 3         S t r i k e F o r c e w a s r i g h t t h e r e, a n d t r a f f i c w a s

 4         b a c k e d u p f r o m t h e e x p r e s sw a y , s o y o u h a d n o

 5         c h o i c e b u t t o b e s l o w g o i n g d o w n.

 6   Q.    O k a y.

 7   M S . T E F F T:    O b j e c t i o n.     Can you be clearer in your

 8         questions about -- you're saying going through a

 9         c h e c k p o i n t, j u s t b e i n g d i s t i n c t a b o u t j u s t

10         driving on through versus going through the

11         a c t u a l p r i m a r y s t o p.

12   B Y M R . S A H A S R A B U D H E:

13   Q.    R i g h t.    I g u e s s t h a t' s w h a t I ' m a s k i n g.       Is it

14         y o u r t e s t i m o n y t h a t a t c e r t a i n c h e c k p o i n t s, t h e r e

15         w a s - - t h e r e w e r e c e r t a i n d r i v e r s w h o d i d n' t h a v e

16         to stop at all?

17   A.    Yes.

18   Q.    O k a y.     And only some drivers were stopped

19         m o m e n ta r i l y?

20   A.    Black drivers was, yes.

21   Q.    O k a y.     And it's your testimony that if a white

22         person went through a vehicle and traffic safety

23         c h e c kp o i n t, t h e y w e r e n o t s t o p p e d a t a l l ?




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 1   A.   Yes.

 2   Q.   O k a y.    And is it your testimony that that

 3        happened in every instance you saw a white person

 4        g o t h r o u g h o r a p p r o a c h a c h e c k p o i n t?

 5   A.   F r o m w h a t I c a n r e c a l l, y e s .

 6   Q.   Do you recall how often you saw white people go

 7        t h r o u g h c h e c k p o i n t s?

 8   A.   You ask me a question that -- I did not count as

 9        m a n y w h i t e p e o p l e, I d i d n' t c o u n t t h e m s o I d o n ' t

10        k n o w.

11   Q.   I understand that you don't have a specific

12        n u m b e r, b u t w a s i t a r e g u l a r o c c u rr e n c e t h a t y o u

13        s a w w h i t e p e o p l e g o i n g t h r o u g h c h e c k p o i n t s?

14   A.   I m e a n, I c a n ' t a n s w e r t h a t q u e s t i o n f o r y o u .

15        Because it still makes me feel like I have to

16        g i v e y o u a n u m b e r, a n d I d o n ' t - - I c a n ' t .             I

17        c a n ' t g i v e y o u t h a t.       It was a lot of white

18        p e o p l e t h a t w e n t t h r o u g h, b u t I d o n ' t k n o w h o w

19        m a n y.

20   Q.   O k a y.    So it happened on more than one occasion

21        t h a t y o u s a w w h i t e p e o p l e g o t h r o u g h c h e c k p o i n t s?

22   A.   For the past -- yes.                   From the time it started to

23        t h e t i m e i t e n d e d, y e s .




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 1   Q.   O k a y.    A n d i n e v e r y i n s t a n c e t h a t y o u o b s e r v e d,

 2        i t ' s y o u r t e s t i m o n y t h a t t h e y w e r e n' t s t o p p e d a t

 3        all?

 4   A.   Yes.

 5   Q.   O k a y.    C a n y o u g o t o p a r a g r a p h t w o e i g h t e e n,

 6        p l e a s e - - I a p o l o g i z e.     T w o n i n et e e n, s o r r y.         Two

 7        n i n e t e e n t h r o u g h t w o t w e n t y.

 8                So fair to say paragraph two nineteen says

 9        t h a t y o u w e r e o n l y, i n t h e t i m e s t h a t y o u w e n t

10        t h r o u g h a c h e c kp o i n t, t h e r e w e r e t h r e e o c c a s i o n s

11        where you were subjected to what we've been

12        d e s c r i b i n g a s a s e c o n da r y s t o p, w o u l d t h a t b e

13        a c c u r a t e?

14   A.   Yes.

15   Q.   A n d o n t w o o f t h e o c c a s i o n s, a f t e r y o u w e r e

16        s u b j e c t e d t o t h e s e c o n da r y s t o p, y o u w e r e n' t

17        i s s u e d a t i c k e t, a n d y o u w e r e a l l o w e d t o d r i v e

18        a w a y, c o r r e c t?

19   A.   C o r r e c t.

20   Q.   O k a y.    N o w l e t ' s - - p a r a g r a p h t w o t w e n t y- o n e

21        t h r o u g h t w o - - a c t u a l l y, j u s t p a r a g r a p h t w o

22        t w e n t y- o n e , t h a t d e s c r i b e s t h e t h i r d s e c o n da r y

23        s t o p y o u w e r e s u b j e c t e d t o , r i g h t?




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 1   A.   Yes.

 2   Q.   Fair to say that you were allowed to drive away

 3        w i t h o u t a n y t i c k e ts i n t h a t i n c i d e n c e a s w e l l?

 4   A.   No.        I w a s n' t a l l o w e d t o d r i v e a w a y.     I was

 5        pulled over until I was able to get the

 6        r e g i s t r a t i o n t h i n g c u r r e n t.

 7   Q.   W e l l, y o u w e r e n' t i s s u e d a n y t i c k e t s, r i g h t?

 8   A.   No, I was not.

 9   Q.   A n d y o u e v e n t u a l l y d i d d r i v e a w a y f r o m t h a t s p o t,

10        c o r r e c t?

11   A.   Yes.

12   Q.   A f t e r h a v i n g b e e n p u l l e d o v e r a n d w a i t i n g?

13   A.   F o r h o u r s, y e s .

14   Q.   O k a y.      But no court appearance or summons

15        r e q u i r e d?

16   A.   No.

17   Q.   N o f i n e s?

18   A.   No.

19   Q.   O k a y.      N o a r r e s t o f a n y k i n d?

20   A.   No.

21   Q.   O k a y.      W a s y o u r i n s p e c t i o n s t i c k e r, i n f a c t,

22        e x p i r e d, t h e o n e t h a t w a s o n t h e c a r ?

23   A.   I believe it said it had expired the day before




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 1         o r s o m e t h i n g.

 2   Q.    O k a y.

 3   A.    Um-hum.

 4   Q.    And you renewed it and got it updated while you

 5         w e r e w a i t i n g?

 6   A.    Yes.

 7   M S . T E F F T:       I ' m s o r r y, P e t e r.   Y o u s a i d i n s p e c t i o n, I

 8         b e l i e v e t h i s p a r a g r a p h s a y s r e g i s t r a t i o n.

 9   B Y M R . S A H A S R A B U D H E:

10   Q.    O k a y.     I a p o l o g i z e.    Registration sticker

11         e x p i r e d?

12   A.    C o r r e c t.

13   Q.    O k a y.     A n d y o u r e n e w e d i t w h i l e y o u w e r e w a i t i n g?

14   A.    Yes.

15   Q.    A n d a s y o u s i t h e r e t o d a y, y o u b e l i e v e t h e

16         officers informed you that the registration

17         s t i c k e r h a d e x p i r e d, e i t h e r t h e d a y p r i o r o r a

18         f e w d a y s p r i o r?

19   A.    Yes.

20   Q.    O k a y.     I'm going to show you what we've marked as

21         D e f e n d a n t' s E x h i b i t K .    S o D e f e n d a n t' s E x h i b i t K

22         is two ordinance tickets issued to you in July of

23         2 0 1 7, c o r r e c t?




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 1   A.    C o r r e c t.

 2   Q.    A l l r i g h t.       And are these the tickets that you

 3         brought your lawsuit for?

 4   A.    Yes.

 5   Q.    O k a y.

 6   M S . T E F F T:       O b j e c t i n g.   C a n y o u c l a r i f y, y o u ' r e

 7         talking about the other lawsuit that is not this

 8         l a w s u i t?

 9   M R . S A H A S R A B U D H E:     Yes.

10   B Y M R . S A H A S R A B U D H E:

11   Q.    These are the tickets you brought your lawsuit

12         f o r s e p a r a t e a n d a p a r t f r o m t h i s l a w s u i t?

13   A.    Yes.

14   Q.    The one that you gave deposition testimony for

15         p r i o r t o b e i n g h e r e t o d a y?

16   A.    Yes.

17   Q.    O k a y.     So my understanding is you were cited for

18         v i o l a t i n g s o m e c i t y o r d i n a n c es , o n e b e i n g t h a t

19         y o u r g r a s s w a s o v e r t e n i n c h e s t a l l, c o r r e c t?

20   A.    T h a t' s w h a t t h e y p u t o n t h e t i c k e t.

21   Q.    A n d i t s a y s g a r b a g e t o t e i n f r o n t y a r d, w a s t h a t

22         what the other ticket was for?

23   A.    Yes.




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 1   Q.   O k a y.      Did you challenge these citations in

 2        c o u r t?

 3   A.   Yes.

 4   Q.   Can you tell me what the outcome was?

 5   A.   T h e y w e r e d i s m i s s e d.

 6   Q.   D o y o u r e c a l l, d i d y o u g o t o c o u r t a n d g i v e

 7        t e s t i m o n y i n f r o n t o f a j u d g e?

 8   A.   Y e a h.      A l i t t l e b i t , l i k e - - y e a h.     Yes.

 9   Q.   A n d u l t i m a t e l y, y o u d i d n' t h a v e t o p a y a f i n e?

10   A.   U l t i m a t e l y.

11   Q.   A n d o f c o u r s e, t h e s e t i c k e t s w e r e n o t i s s u e d t o

12        y o u w h i l e y o u w e r e d r i v i n g y o u r v e h i c l e, c o r r e c t?

13   A.   C o r r e c t.

14   Q.   H o w d i d y o u f i n d o u t t h a t y o u h a d b e e n t i c k e t e d?

15   A.   They went on my property and put the tickets in

16        t h e m a i lb o x .

17   Q.   O k a y.      Do you remember what your allegations were

18        for the lawsuit that you filed in connection with

19        t h e s e t i c k e t s?

20   A.   No.        I d o n ' t r e m e m b e r.   I know that they

21        illegally went on my property and looked at my

22        v e h i c l e, a n d l i e d a b o u t t h e g r a s s.

23   Q.   O k a y.      Do you remember whether your case was




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 1         b r o u g h t i n s t a t e o r f e d e r a l c o u r t?

 2   A.    No.      I d o n ' t r e m e m b e r.

 3   Q.    A n d y o u d o n ' t r e m e m b e r y o u r l a w y e r' s n a m e?

 4   A.    I c a n n o t r e m e m b e r h i s n a m e.

 5   Q.    I ' m g o i n g t o s h o w y o u a t t h e s a m e t i m e - - w e l l,

 6         l e t m e a c t u a l l y b a c k u p f o r a s e c o n d.          No.        I'll

 7         s h o w y o u t h e s e.       I'll show you these right now.

 8   M S . T E F F T:     A n d , P e t e r, I ' m s o r r y.        This Exhibit K,

 9         you were only speaking as to the two tickets that

10         a r e o n t h e f r o n t p a g e, b u t t h e r e a r e t w o t i c k e t s

11         o n t h e s e c o n d p a g e, i s t h i s a l l p a r t o f t h e s a m e

12         exhibit or were you meaning to mark them as

13         s e p a r a t e e x h i b i t s?

14   M R . S A H A S R A B U D H E:    S e p a r a t e e x h i b i t s.

15   M S . T E F F T:     O k a y.     B e c a u s e y o u d i d n o t a s k , c o r r e c t,

16         a b o u t t h e t w o t i c k e t s o n t h e s e c o n d p a g e?

17   M R . S A H A S R A B U D H E:    No.     No.

18   M S . T E F F T:     O k a y.

19   M R . S A H A S R A B U D H E:    W e l l, w h y d o n ' t w e d o i t a l l a s

20         o n e e x h i b i t, a n d I ' l l a s k a b o u t t h e s e c o n d p a g e.

21   M S . T E F F T:     O k a y.

22   B Y M R . S A H A S R A B U D H E:

23   Q.    Can you flip to the second page of what we've




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 1        m a r k e d a s D e f e n d a n t' s E x h i b i t K .     So these are

 2        a l s o, i n a d d i t i o n t o t h e t w o c i t y o r d i n a n c e

 3        c i t a t i o n s w e a l r e a d y t a l k e d a b o u t, t w o a d d i t i o n a l

 4        c i t a t i o n s y o u r e c e i v e d, c o r r e c t?

 5   A.   Yes.

 6   Q.   A l l r i g h t.      And they were issued on the same day,

 7        July 17?

 8   A.   Yes.

 9   Q.   O f 2 0 1 7?

10   A.   Um-hum.          Yes.

11   Q.   A l l r i g h t.      A n d a g a i n, w e r e t h e s e c h a r g e s

12        d i s m i s s e d?

13   A.   Yes.

14   Q.   O k a y.    And these charges were not for anything

15        you did while you were driving or operating a

16        v e h i c l e, c o r r e c t?

17   A.   C o r r e c t.

18   Q.   O k a y.    A n d y o u w e r e n' t a r r e s t e d o r p u t i n c u s t o d y

19        a s a r e s u l t o f t h e s e c h a r g e s, c o r r e c t?

20   A.   C o r r e c t.

21   Q.   You found these citations in your mailbox the way

22        you did with the other two?

23   A.   T h e y p u t t h e m i n t h e m a i l b o x, t h e y w e r e s t i l l




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 1        s t a n d i n g o u t s i d e m y h o m e b l o c ki n g m y h o u s e w h i l e

 2        t h e y w e r e g o i n g o n m y p r o p e r t y.

 3   Q.   S o t h e s e w e r e p u t i n y o u r m a i lb o x t h e w a y t h e

 4        o t h e r t w o w e r e?

 5   A.   T h e y w e r e p u t i n t h e m a i l b o x.

 6   Q.   O k a y.    I ' l l h a n d y o u t h a t, L a n d M .         So I just

 7        h a n d e d y o u D e f e n d a n t' s D e p o s i t i o n E x h i b i t M a n d

 8        L.     D o y o u n e e d a s e c o n d t o l o o k t h o s e o v e r?         Are

 9        y o u f a m i l i a r w i t h t h e s e d o c u m e n t s?

10   A.   Yes.

11   Q.   Fair to say that these are two tickets you

12        r e c e i v e d o n t h e s a m e d a t e, w h i c h i s M a r c h - - i t

13        w a s M a r c h o f t h i s y e a r, M a r c h o f 2 0 2 3?

14   A.   Yes.

15   Q.   Can you tell me where you received these two

16        t i c k e t s?

17   A.   I w a s n e a r - - I w a s d r i v i n g d o w n B a i l e y, I w a s

18        p u l l e d o v e r j u s t b e f o r e D e l a v a n.

19   Q.   Fair to say that this was not at a vehicle and

20        traffic safety checkpoint when you were pulled

21        o v e r?

22   A.   Fair to say.

23   Q.   O k a y.    A n d s o h o w w e r e y o u p u l l e d o v e r?




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 1   A.   H e c h a s e d b e h i n d m e a n d p u l le d m e o v e r.

 2   Q.   T h e o f f i c e r w h o i s s u e d t h e t i c k e t s, d r o v e u p

 3        behind you and put his lights on?

 4   A.   Yes.

 5   Q.   A n d y o u p u l l e d o v e r?

 6   A.   Yes.

 7   Q.   And could you describe what took place after you

 8        p u l l e d o v e r?

 9   A.   He asked me who I was, and I asked what was he

10        p u l l i n g m e o v e r f o r , d i d n' t h a v e a c l e a r r e a s o n

11        w h y h e w a s p u l l i n g m e o v e r, t h e n h e s t a r t e d

12        s e a r c h i n g f o r r e a s o n s t o g i v e m e a t i c k e t.

13   Q.   When you say searching for reasons to give you a

14        t i c k e t, d i d h e u l t i m a t e l y t e l l y o u t h a t y o u r

15        w i n d o ws w e r e t i n t e d?

16   A.   A f t e r.    T h a t w a s n' t h i s o r i g i n a l r e a s o n f o r

17        p u l l i n g m e o v e r, s o I d o n ' t k n o w w h a t t h e - - b u t

18        a f t e r h e s t a r t e d s e a r c h i n g.

19   Q.   O k a y.     So how long after the original --

20        w i t h d r a w n.     How long after pulling you over did

21        h e n o t i f y y o u t h a t y o u r w i n d o w s w e r e t i n t e d?

22   A.   A b o u t f i v e, t e n m i n u t e s.

23   Q.   A n d a t t h i s p o i n t h e w r o t e y o u t h e s e t w o t i c k e t s?




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 1   A.   Yes.

 2   Q.   And one of the tickets is for the front

 3        w i n ds h i e l d b e i n g t i n t e d, c o r r e c t?

 4   A.   Yes.

 5   Q.   A n d t h e o t h e r i s f o r t h e s i d e w i n ds h i e l d b e i n g

 6        t i n t e d?

 7   A.   Yes.

 8   Q.   W e r e t h o s e w i n d o w s, i n f a c t, t i n t e d?

 9   A.   Yes.

10   Q.   O k a y.       Have you challenged or disputed these

11        traffic tickets in a court of law?

12   A.   Yes.

13   Q.   W h a t w a s t h e o u t c o m e?

14   A.   D i s m i s s e d.

15   Q.   Y o u d i d n' t h a v e t o p a y a n y f i n e o r - -

16   A.   No.

17   Q.   - - a n y p e n a l t y o f a n y k i n d?

18   A.   No.

19   Q.   W e r e y o u a r r e s t e d o n t h i s o c c a s i o n?

20   A.   I get -- is an arrest when they give you the

21        s u m m o n s t o g o t o c o u r t?

22   Q.   W e l l, t h a t' s a g o o d q u e s t i o n, s o I ' m g o i n g t o

23        m a k e a d i s t i n c t i o n.     No.     Were you taken away




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 1         from your car?

 2   A.    No.

 3   Q.    Were you allowed to leave the scene in your car?

 4   A.    Yes.

 5   Q.    O k a y.     Y o u w e r e n' t a p p r e h e n d e d o r p u t i n c u s t o d y

 6         i n a n y w a y , s h a p e o r f o r m?

 7   A.    No.

 8   M R . S A H A S R A B U D H E:    L e t ' s m a r k t h i s D e f e n d a n t' s O .

 9

10                  ( W h e r e u p o n, a D o c t o r' s N o t e w a s t h e n

11         r e c e i v e d a n d m a r k e d a s D e f e n d a n t' s E x h i b i t O , f o r

12         i d e n t i f i c a t i o n. )

13

14   B Y M R . S A H A S R A B U D H E:

15   Q.    So I just handed you a copy of a document your

16         l a w y e r g a v e t o m e t o d a y, a n d w e ' v e m a r ke d i t a s

17         D e f e n d a n t' s E x h i b i t O .    It's a note from your

18         d o c t o r, c o r r e c t?

19   A.    Yes.

20   Q.    W h e n d i d y o u r e c e i v e t h a t d o c t o r' s n o t e?

21   A.    I can't even see the date that he gave it --

22         3/12.        S o i t w a s w r i t t e n a t m y n e x t a p p o i n t m e n t,

23         so it was 3/15.




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 1   Q.   O k a y.     S o y o u d i d n o t h a v e t h i s d o c t o r' s n o t e

 2        w h e n y o u w e r e p u l l e d o v e r i n M a r c h o f 2 0 2 3?

 3   A.   C o r r e c t.

 4   Q.   O k a y.     A n d y o u h a v e s i n c e r e c e i v e d a d o c t o r' s

 5        n o t e?

 6   A.   Yes.

 7   Q.   Did you present that at the hearing for your

 8        t r a f f i c t i c k e t?

 9   A.   Yes.

10   Q.   A n d i s t h a t w h y t h e c h a r g e s w e r e d i s m i s s e d?

11   A.   Yes.

12   Q.   T o y o u r u n d e r s t a n d i n g?

13   A.   T o m y u n d e r s t a n d i n g, y e s .

14   Q.   H o w m a n y c o u r t a p p e a r a n c e s d i d y o u h a v e?

15   A.   One.

16   Q.   O k a y.     And you've had no other court appearances

17        i n c o n n e c t i o n w i t h t h o s e t w o t r a f f i c t i c k e t s,

18        c o r r e c t?

19   A.   C o r r e c t.

20   Q.   A l l r i g h t.     I just handed you what we previously

21        m a r k e d a s D e f e n d a n t' s D e p o s i t i o n E x h i b i t N .     Is

22        this something you reviewed in preparation for

23        t o d a y?




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 1   A.   No.

 2   Q.   A r e y o u f a m i l i a r w i t h t h i s d o c u m e n t?

 3   A.   Yes.

 4   Q.   H a v e y o u s e e n i t b e f o r e?

 5   A.   Yes.

 6   Q.   Fair to say that this is a complaint you filed

 7        against Officer Miller who wrote you the two

 8        t r a f f i c t i c k e t s?

 9   A.   Yes.

10   Q.   Has anything happened since you made this

11        c o m p l a i n t w i t h r e s p e c t - - w i t h d r a w n.   Have you

12        given any statements to the Buffalo Police

13        Department or anyone from the City of Buffalo

14        a f t e r y o u m a d e t h i s c o m p l a i n t?

15   A.   No.

16   Q.   O k a y.    So at the top it says it's a description

17        g i v e n o f y o u r s t a t e m e n t, a n d i t s a y s M i s s

18        Franklin states that PO Miller unlawfully used

19        h i s b a d g e t o a r r e s t h e r , c o r r e c t?

20   A.   C o r r e c t.

21   Q.   A n d a g a i n, I w a n t t o m a k e a d i s t i n c t i o n, y o u w e r e

22        c i t e d f o r a v e h i c l e a n d t r a f f i c v i o l a t i o n,

23        c o r r e c t?




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 1   A.   C o r r e c t.

 2   Q.   B u t y o u w e r e n o t p l a c e d u n d e r a r r e s t?

 3   A.   C o r r e c t.

 4   Q.   O k a y.    Was the March 2023 incident the last time

 5        you received a traffic ticket in the City of

 6        B u f f a l o?

 7   A.   Yes.

 8   Q.   P r i o r t o M a r c h o f 2 0 2 3, w h e n w a s t h e l a s t t i m e

 9        y o u r e c e i v e d a t r a f f i c t i c k e t?

10   A.   I c a n ' t r e c a l l.

11   Q.   Had it been more than five years since you

12        received a traffic ticket when you were given

13        t h e s e t i c k e t s i n M a r c h o f 2 0 2 3?

14   A.   I c a n ' t r e c a l l.

15   Q.   You can't recall any specific instances right

16        now?

17   A.   N o s p e c i f i c d a t e s, n o .

18   Q.   O k a y.    Have you ever -- do you remember any

19        s p e c i f i c i n s t a n c e s r e g a r dl e s s o f t h e d a t e o f

20        receiving a traffic ticket in the City of

21        B u f f a l o?

22   A.   I d o n ' t k n o w.       Maybe like when I first started

23        d r i v i n g.   I d o n ' t k n o w.     I can't answer that




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 1         question for you.

 2   Q.    O k a y.     N o s p e c i f i c i n s t a n c e s y o u c a n r e c a l l?

 3   A.    I c a n ' t r e c a l l.

 4   M R . S A H A S R A B U D H E:       O k a y.    T h a t' s a l l I h a v e.

 5   T H E W I T N E S S:      T h a t' s i t ?

 6   M R . S A H A S R A B U D H E:       T h a t' s i t .

 7   T H E W I T N E S S:      O k a y.

 8   M S . T E F F T:       C a n w e a c t u a l l y t a k e a f i v e- m i n u t e b r e a k

 9         a t t h i s p o i n t?

10   M R . S A H A S R A B U D H E:       Yes.       S u r e.

11                  ( W h e r e u p o n, a s h o r t r e c e s s w a s t h e n t a k e n. )

12

13   E X A M I N A T I O N B Y M S . T E F F T:

14

15   Q.    W e c a n g o b a c k o n t h e r e c o r d.            M i s s F r a nk l i n, I

16         just have a couple more questions for you.                                     So

17         w h e r e y o u ' r e c u r r e n t l y l i v i n g, a n d w h e r e y o u

18         c u r r e n t l y d r i v e, h a v e y o u o b s e r v e d t h e B P D

19         e n g a g i n g i n t r a f f i c e n f o r c e m e n t, t r a f f i c s t o p s

20         a r o u n d y o u r n e i g h b o r h o o d?

21   A.    Yes.       A l l t h e t i m e, o n B a i l e y i t ' s F r i d a y n i g h t

22         l i g h t s o v e r t h e r e o n B a i l e y, t h e y g o u p a n d d o w n

23         t h e s t r e e t p u l li n g c a r s o v e r.




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 1   Q.    D o y o u h a v e a n i d e a o f w h a t t h e y' r e s t o p p i n g

 2         f o l k s f o r o r i s i t u n c l e a r?

 3   M R . S A H A S R A B U D H E:    O b j e c t i o n t o f o r m.

 4   T H E W I T N E S S:     I c a n a n s w e r t h a t?

 5   M R . S A H A S R A B U D H E:    Yes.

 6   B Y M S . T E F F T:

 7   Q.    Y o u c a n a n s w e r.

 8   A.    W e l l, w e k n o w t h a t i t ' s f o r t i c k e t s b e c a u s e

 9         t h a t' s w h a t t h e y d o , t h e y p u l l t h e m o v e r, t h e n

10         t h e y l e a v e.

11   Q.    Do you know people in your community who have

12         been stopped by the BPD?

13   A.    Yes.

14   Q.    H a v e t h e y b e e n s t o p p e d r e c e n t l y?

15   A.    People are stopped almost every day.

16   Q.    Do you know people who have been ticketed

17         r e c e n t l y?

18   A.    Yes.

19   Q.    O k a y.     A n d o n a d i f f e r e n t s u b j e c t, a f e w m o m e n t s

20         a g o P e t e r s h o w e d y o u a c o p y o f t h e c i t i z e n' s

21         complaint form that you filed about your traffic

22         s t o p t h a t h a p p e n e d o n M a r c h 1 2 t h , 2 0 2 3.     Do you

23         r e m e m b e r t h a t d o c u m e n t?




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 1   A.   Yes.

 2   Q.   Can you just take a moment to review the

 3        handwritten paragraph towards the bottom

 4        e x p l a i n i n g t h e n a t u r e o f y o u r c o m p l a i n t?

 5   A.   O k a y.   S o t h i s i s w h a t t h e s u p e rv i s o r w r o t e, b u t

 6        i t w a s s o m e o f m y w o r d s.        M y w o r d s w a s n' t

 7        u n l a w f u l l y u s e d - - w e l l, I d i d s a y u n l a wf u l l y

 8        u s e d h i s b a d g e, b u t h e p u t t o a r r e s t h e r .

 9   Q.   Can you explain what you meant by unlawfully used

10        h i s b a d g e?

11   A.   H e w a s d o i n g - - h e w a s n' t d o i n g t h i s f o r - - I

12        d o n ' t k n o w.    H e p u l l e d m e o v e r, a n d h o w h e p u l l e d

13        m e o v e r, h e j u s t - - h e w a s n' t i n t h e c o l o r o f t h e

14        l a w w h e n h e p u l l e d m e o v e r.       I should have

15        never --

16   Q.   W h a t d i d h e - - I ' m s o r r y.        Excuse me.          Finish

17        y o u r a n s w e r, I a p o l o g i z e.

18   A.   H e j u s t w a s n' t i n t h e c o l o r o f t h e l a w w h e n h e

19        p u l l e d m e o v e r.

20   Q.   What did the officer tell you was the reason that

21        h e s t o p p e d y o u w h e n h e p u l l e d y o u o v e r?

22   A.   H e s a i d h e w a s d o i n g a n i n v e s t i g a t i o n, s o h e w a s

23        l i k e - - a n d w a s n' t v e r y c l e a r a b o u t w h a t h e w a s




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 1         t a l k i n g a b o u t, h e w a s j u s t t r y i n g t o g e t

 2         information from me about me and my car.

 3   Q.    C a n y o u e l a b or a t e o n t h a t, w h a t i n f o r m a t i o n a b o u t

 4         your car was he interested in?

 5   A.    Like who am I, who I was and why am I driving

 6         d o w n B a i l e y, l i k e i t w a s j u s t s t u p i d.

 7   Q.    Did he explain why he was interested in learning

 8         t h a t i n f o r m a t i o n?

 9   A.    He said that my car was identified as being a car

10         t o g o u p a n d d o w n B a i l e y.       Somebody identified my

11         c a r a s g o i n g u p a n d d o w n B a i l e y, l i k e m y c a r w a s

12         following him.

13   Q.    O k a y.     A n d i t w a s i d e n t i f i e d f o r w h a t r e a s o n, d i d

14         he tell you?

15   M R . S A H A S R A B U D H E:    F o r m.

16   T H E W I T N E S S:    I d o n ' t k n o w.

17   B Y M S . T E F F T:

18   Q.    O k a y.     S o t h e n y o u f i l e d a c o m p l a i n t, r i g h t,

19         a b o u t t h i s s t o p?

20   A.    Yes.

21   Q.    Has the BPD or specifically internal affairs at

22         the BPD followed up with you at all about this

23         complaint since you filed it?




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 1   A.    No.

 2   Q.    W h a t, a s i d e f r o m w h e n y o u f i l e d t h e c i t i z e n' s

 3         c o m p l a i n t f o r m, h a v e y o u h a d a n y o t h e r

 4         conversations or interactions with the BPD about

 5         t h i s c o m p l a i n t?

 6   A.    I ' v e c a l l e d a n d l e f t m e s sa g e s f o r t h e m t o c a l l m e

 7         b a c k.     I was told at one point to contact the

 8         d i s t r i c t, a n d t h e n I h a d r e q u e s t e d a s u p e r v i s o r

 9         from internal affairs to call me, but nobody has

10         called me.

11   Q.    Nobody has called you?

12   A.    Nobody has called me.

13   Q.    S o a s f a r a s y o u ' r e a w a r e, t h e r e' s b e e n n o - -

14   A.    N o m o v e m e n t.

15   M R . S A H A S R A B U D H E:     F o r m.

16   B Y M S . T E F F T:

17   Q.    T h e r e' s b e e n n o o u t c o m e t o t h i s c o m p l a i n t?

18   M R . S A H A S R A B U D H E:     F o r m.

19   T H E W I T N E S S:      C o r r e c t.

20   M S . T E F F T:       O k a y.    I d o n ' t h a v e a n y t h i n g f u r t h e r.

21

22   R E - E X A M I N A T I O N B Y M R . S A H A S R A B U D H E:

23




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 1   Q.    J u s t v e r y q u i c k l y.        Did Officer Miller testify at

 2         the court appearance you had for the March 2023

 3         t r a f f i c t i c k e t s?

 4   A.    No.

 5   Q.    O k a y.     Y o u w e r e t h e o n l y o n e t h e r e?

 6   A.    Yes.

 7   M R . S A H A S R A B U D H E:       T h a t' s a l l I h a v e.

 8   M S . T E F F T:       O k a y.      T h a t' s i t .

 9   T H E W I T N E S S:      O k a y.

10

11                                        *      *     *     *     *

12

13

14

15

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21

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23




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 1                I HEREBY CERTIFY that I have read the

 2        f o r e g o i n g 5 4 p a g e s a n d t h a t, e x c e p t a s t o t h o s e

 3        c h a n g e s s e t f o r t h i n t h e a t t a c h e d e r r a t a f o r m( s ) ,

 4        they are a true and accurate transcript of the

 5        t e s t i m o n y g i v e n b y m e i n t h e a b o v e- e n t i t l e d

 6        a c t i o n o n M a y 1 5 , 2 0 2 3.

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